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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY )
AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456

)

-CV-12257- “L¥-
01-CV-12257-PBS AND 01-CV-339 ) Judge Patti B. Saris

)

Judgment

IT IS ADJUDGED AND DECREED THAT:

Judgment is entered in favor of Class 2 against Bristol-Myers Squibb Company in
the amount $388,557, including pre-judgment interest, and in favor of Class 3 against Bristol-
Myers Squibb Company in the amount $307,037, including pre-judgment interest, for a totai of $

695,594.

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Dated: November 24007 NL SS Cn S ee Ayo

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